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                     EXHIBIT D
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                SEC Receivership, Christopher Blau, Audemars Piguet Royal Oak Watch



Merchandise:

       One Men’s 18K Yellow Gold Audemars Piquet Royal Oak strap watch Case #J06097-6205, Ref.
       #1540-OR-OO.D CR.01. Fair Market Appraisal Value (per 3/4/2022 Appraisal) is $55,000.



Proposal:

       The watch would be offered for sale at live and online auction September 17 th 2022. With a pre-
       sale Estimate of $40,000-$60,000. The opening bid would be $20,000, and the confidential
       reserve would be set at        (Hammer Price)



Sales Method:

       Reserve Auction conducted Live and Live-Online with bidding by Phone and Absentee.



Commission & Expenses:

       Nest Egg Auctions will charge 10% commission against the hammer price. With no further fees,
       unless bonding is required. Watch would be Vaulted and Insured by Nest Egg Auctions Prior to
       sale. Payment will be net 30 days.



Buyer Terms:

       Open to the public, Buyers premium: Net 15%.
